                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF VIRGINIA
                           CHARLOTTESVILLE DIVISION


                                                         Action No: 3:17CV72
   Elizabeth Sines, et al                                Date: June 3, 2019
   vs.                                                   Judge: Joel C. Hoppe
                                                         Court Reporter: H. Wheeler/FTR
   Jason Kessler, et al
                                                         Deputy Clerk: Heidi N. Wheeler



   Plaintiff Attorney(s)                         Defendant Attorney(s)
   Michael Bloch                                 James Kolenich
   Gabrielle Tenzer                              John DiNucci
   Erin Ashwell



                                    LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                          DEFENDANT:
   1.




  PROCEEDINGS:
  MOTION HEARING [465,457] Motions for Sanctions and [459] Motion to Withdraw
  11:01-11:43= 42 min

  Arguments heard on motion to withdraw first. Court will grant motion.

  Arguments on Motions for Sanctions heard.

  Remarks by Court.

  Order will issue




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